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                       IN THE UNITED STATES DISTRICT COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                               FORT WORTH DIVISION

 RONDELLTE R. FRAZIER,                           §
                                                 §
      Plaintiff,                                 §
                                                 §
 v.                                              §   Civil Action No. 4:15-CV-00888-O
                                                 §
 DALLAS/FORT WORTH                               §
 INTERNATIONAL AIRPORT et al.,                   §
                                                 §
                                                 §
      Defendants.                                §


                                            ORDER

         The Court has issued its Order dismissing each of Plaintiff’s claims in this matter. ECF

No. 167.     It is therefore ORDERED, ADJUDGED, AND DECREED that this case is

DISMISSED with prejudice.

         SO ORDERED on this 17th day of July, 2017.




                                              _____________________________________
                                              Reed O’Connor
                                              UNITED STATES DISTRICT JUDGE




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